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                                 Exhibit B
Case 1:24-cv-00903-NRM-JRC Document 32-3 Filed 04/22/24 Page 2 of 3 PageID #: 595
Criminal & Infraction: JASON O STUBBS




                                        Department of Corrections Record




Source Information                                      Offense 1
 Current Date:                 04/14/2024                Offense Number:           1
                                                         Case Number:              041404175
                                                         Case Status:              DISCHARGED 20060123
                                                         Case Information:         INTRA CASE NUMBER:
Defendant Information                                                              244834
                                                         Statute Violated:         76-5-109
 Offender Name:             STUBBS, JASON O              Offense Charged:          CHILD ABUSE
 FBI Number:                860945FC8                    Class of Offense:         THIRD DEGREE FELONY
 State ID Number:           1063057                      Offense Location:         UTAH
 DOC Number:                168367                       Verdict:                  D
 Drivers License            158532XXX                    Court:                    4TH DISTRICT COURT,
 Number:                                                                           PROVO
 Date of Birth:             01/XX/1979                   Jurisdiction County:      UTAH
 Gender:                    MALE                         Sentence Imposed          07/22/2005
 Race:                      CAUCASIAN                    Date:
 Ethnicity:                 7                            Sentence Expiration       01/23/2006
 Eye Color:                 BLUE                         Date:
 Hair Color:                BROWN                        Sentence Status:          DISCHARGED
 Height:                    6 FT.0 IN.                   Prior Sentence Begin      06/02/2005
 Weight:                    175 LBS.                     Date:
 Miscellaneous              20050722-FELONY              Prior Sentence End        07/22/2005
 Information:               PROBATION, 20050602-         Date:
                            UNSENTENCED                  Prior Sentence            UNSENTENCED
                                                         Status:



                                                        Offense 1
                                                         Offense Number:           1
                                                         Case Number:              041404175
                                                         Case Status:              DISCHARGED 20060123
                                                         Case Information:         INTRA CASE NUMBER:
                                                                                   244834
                                                         Statute Violated:         76-5-109
                                                         Offense Charged:          CHILD ABUSE
                                                         Class of Offense:         THIRD DEGREE FELONY
                                                         Offense Location:         UTAH
                                                         Verdict:                  D
                                                         Court:                    4TH DISTRICT COURT,
                                                                                   PROVO
                                                         Jurisdiction County:      UTAH
                                                         Sentence Imposed          07/22/2005
                                                         Date:
                                                         Sentence Expiration       01/23/2006
                                                         Date:
                                                         Sentence Status:          DISCHARGED
                                                         Prior Sentence Begin      07/22/2005
                                                         Date:




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Criminal & Infraction: JASON O STUBBS


                                                                Prior Sentence End                 01/23/2006
                                                                Date:
                                                                Prior Sentence                     FELONY PROBATION
                                                                Status:



                                                              Order Documents
                                                                 Call Westlaw CourtExpress at 1-877-DOC-RETR
                                                                 (1-877-362-7387) for on-site manual retrieval of documents
                                                                 related to this or other matters. Additional charges apply.
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